Bayou Verret Land Co., Inc., 1 Petitioner v. Commissioner of Internal Revenue, RespondentBayou Verret Land Co. v. CommissionerDocket No. 6308-66United States Tax Court52 T.C. 971; 1969 U.S. Tax Ct. LEXIS 56; 34 Oil &amp; Gas Rep. 137; September 23, 1969, Filed *56 Decision will be entered under Rule 50.  In each of the years 1959 through 1963, petitioner received bonuses upon the execution of oil and gas leases, and claimed percentage depletion thereon.  In each of the succeeding years, 1960 through 1964, respectively, the lease of the immediately preceding year was terminated without production, and, pursuant to sec. 1.612-3(a)(2), Income Tax Regs., petitioner returned as income a sum equal to the depletion deduction claimed for the immediately preceding year.  Respondent determined that petitioner was subject to the personal holding company tax for 1959, 1960, 1961, 1963, and 1964.  Held, the bonuses, but not the sums which corresponded with amounts previously deducted as depletion and reported as income in the succeeding year, were personal holding company income within the meaning of sec. 543(a), I.R.C. 1954, and petitioner's deductions allowable under sec. 162 constituted 15 percent of petitioner's gross income only in 1961, with the result that petitioner was a personal holding company in 1959, 1960, and 1963, but not in 1961 and 1964.  Held, further, on the facts, petitioner, for income tax purposes, is entitled to deduct  the full amount *57 paid each year on notes given for certain loans.  deQuincy V. Sutton, for the petitioner.William O. Lynch, and Harold Friedman, for the respondent.  Featherston, Judge.  FEATHERSTON*972  Respondent determined deficiencies in petitioner's Federal income and personal holding company taxes as follows:DeficienciesYearPersonalIncomeholdingTotaltaxcompanytax1959None$ 3,285.81$ 3,285.811960None3,408.253,408.251961$ 104.342,409.192,513.531962604.05None604.051963697.548,211.868,909.401964511.532,805.073,316.60Total&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;1,917.4620,120.1822,037.64Certain issues have been settled by the parties.  The issues remaining for decision are:(1) Whether cash bonuses received as consideration for oil and gas leases in the years 1959, 1960, 1961, and 1963, respectively, constitute personal holding company income within the meaning of section 543(a)(8).  2*58  (2) Whether amounts equal to the percentage depletion deductions taken by petitioner in 1959, 1960, 1962, and 1963, respectively, and reported as income when the leases were terminated without production in 1960, 1961, 1963, and 1964, respectively, constitute personal holding company income under pre-1964 section 543(a)(8) and present section 543(a)(3).(3) Whether, under pre-1964 section 543(a)(8), (a) directors' fees, (b) depletion, (c) real estate taxes, (d) interest, and (e) a net operating loss carryover constitute deductions allowable under section 162.(4) Whether, for income tax purposes, petitioner is entitled to deduct as interest under section 163(a) the full amount paid in 1962, 1963, and 1964 on notes given in connection with certain loans obtained in 1962.*973  FINDINGS OF FACTBayou Verret Land Co., Inc. (hereinafter referred to as petitioner), had its principal office in New Orleans, La., at the time of the filing of its petition.  Petitioner filed its Federal corporate income tax returns for the calendar years 1959 through 1964, inclusive, on a cash basis with the district director of internal revenue, New Orleans.During *59 the years in question petitioner owned approximately 1,271 acres of land in Jefferson Parish, La.  Its income was derived from oil and gas leases covering portions of its land.The only lease in evidence to which petitioner is a party is one entitled "Oil, Gas and Other Hydrocarbons Lease," executed on August 12, 1963, by petitioner and Churchill Farms, Inc., as joint lessors, and Frank Ashby, Jr., as lessee. In consideration of $ 1,000 and "other good and valuable consideration," petitioner and Churchill Farms, Inc., leased a total of 552 acres of their land, giving the lessee "the exclusive right to enter upon and use the land" for "the exploration for, and production of, oil, gas and other hydrocarbons." If drilling operations were not commenced on or before August 1, 1964, the lease was to terminate unless the lessee paid the lessors delay rentals of $ 25 per acre for the land retained under the lease, in which event the lease would be extended for 1 year and "Thereafter, annually, in like manner and upon like payment, on or before August 1 of each succeeding year," for a term of 5 years.  The lessee was given the right to surrender all, or part, of the leased premises and to be *60 relieved of all obligations as to the released acreage, subject to a provision for a minimum rental of $ 7,500 per annum.  The lessee was obligated to pay the lessors royalties of one-sixth of all oil and gas produced (or the value thereof).  The lessors warranted and agreed to defend title to their premises, but the lease provided that, in case of failure of title, "Lessee shall not be entitled to claim or recover any monies already paid Lessor as bonus, rentals, or royalty."Petitioner returned as income for 1959 an amount received for a "shooting-and-selection" lease, and for 1960 through 1963 amounts designated as "Royalty Bonus" received upon the execution of oil and gas leases. Petitioner deducted 27 1/2 percent thereof as depletion allowances as follows:AmountDepletionTaxable yearreceiveddeduction1959$ 10,260.00$ 2,821.5019609,576.002,633.4019616,995.001,923.6319622,600.00715.00196317,862.504,912.19*974  Petitioner reported no bonuses as having been received in 1964.  In each of the years 1960 through 1964, the leases of the immediately preceding year were terminated without production, and petitioner reported as income an amount equivalent to the depletion deduction taken in the *61 immediately preceding year.  For the taxable years in question petitioner claimed the following deductions:195919601961Depletion$ 2,821.50$ 2,633.40$ 1,923.63Taxes98.52167.86187.37Directors' fees1,500.002,500.002,500.00Legal and auditing1,031.95650.00Insurance347.77Other131.25Professional40.00InterestAccountingNet operating loss deduction1,078.67Total deductions claimed&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;5,538.696,333.215,740.02196219631964Depletion$ 715.00$ 4,912.19Taxes210.56374.22$ 280.51Directors' feesLegal and auditing1,150.00InsuranceOther348.69150.00ProfessionalInterest2,013.532,325.122,325.12Accounting150.00Net operating loss deductionTotal deductions claimed&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;4,437.787,761.532,755.63The loan transactions pertaining to issues (3)(d) and (4) arose in the following manner.  Sometime before August 1961, petitioner's vice president, J. Folse Roy (hereinafter Roy), arranged for petitioner to borrow $ 85,000 from Wainer Bros. (hereinafter Wainer), a New Orleans lending institution.  At that time it was contemplated that petitioner would use the borrowed funds to acquire adjoining land, thus providing needed access to its own property.  Indeed, through Roy petitioner had attempted to acquire two tracts of *62 adjoining land.  These negotiations failed and Roy then considered acquiring three other adjoining tracts. Roy made an offer to purchase one of these tracts; the offer was not accepted, and expired on or about October 31, 1961.  Plans to purchase the other two tracts already had been abandoned by that time, and petitioner made no further proposals to acquire additional land thereafter.On November 15, 1961, petitioner executed a collateral note and mortgage for $ 150,000, secured by its land, pursuant to a resolution adopted by its board of directors on November 14, 1961.  The resolution also authorized Roy to borrow on this mortgage such amounts and on such terms as he deemed advisable, and petitioner thereafter borrowed $ 85,000 from Wainer -- $ 42,500 on May 24, 1962, and $ 42,500 on December 4, 1962.  3*63  The security for these loans consisted of the $ 150,000 collateral note and mortgage, and the personal guarantees of Carlos Marcello and Roy.  The loan proceeds were deposited in petitioner's bank account on May 25, 1962, and December 5, 1962, respectively.Petitioner gave Wainer a separate note for each of the loans, one dated May 24, 1962, and the other dated December 4, 1962.  Each note *975  was in the principal amount of $ 56,450 and provided for repayment in 35 equal consecutive monthly installments (commencing, in each case, 1 month from the date of the note) of $ 387.50, with a 36th and final payment of $ 42,887.50.  No interest, as such, was stated in the notes (except that overdue installments were to bear 8 percent from maturity); rather, the face amount of each note included discount in the amount of $ 13,950.On the same dates that Wainer made the loans to petitioner, the latter disbursed by check the following amounts:Amount ofDate of checkcheckPayeeMay 24, 1962$ 6,500Carlos Marcello.May 24, 196220,000Carlos Marcello.May 24, 196216,000Roy.Total&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;42,500Dec. 4, 19625,000Carlos Marcello.Dec. 4, 196214,250Carlos Marcello.Dec. 4, 19627,000Roy.Dec. 4, 19628,750Joseph Marcello.Total&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;35,000 Petitioner received notes from Carlos and Joseph Marcello as follows:Amount ofDatenoteObligorMay 24, 1962$ 20,000Carlos Marcello.May 25, 19626,500Carlos Marcello.Dec. 4, 19628,750Joseph Marcello.Dec. 4, 19625,000Carlos Marcello.These *64 notes provided for 6-percent interest per annum.As to the disbursements made by petitioner on May 24, 1962, and December 4, 1962, to Carlos and Joseph Marcello and Roy, petitioner's ledger accounts show total repayments of $ 14,970 by Carlos Marcello, $ 2,517.50 by Roy, and nothing by Joseph Marcello.  During the taxable years 1962, 1963, and 1964 petitioner reported no interest as having been received from any source.During 1962, 1963, and 1964 petitioner made monthly payments to Wainer on the two loans as follows:Loan ofLoan ofYearMay 24, 1962Dec. 4, 19621962$ 2,712.5019634,650.00$ 4,65019644,650.004,650Petitioner's bookkeeper classified each monthly payment ($ 387.50) included in the above schedule of payments as part interest and part *976  amortization of principal, and on its returns petitioner deducted the following amounts as interest paid to Wainer:Amount deductedYearas interest1962$ 2,013.5319632,325.1219642,325.12 The first loan to petitioner from Wainer was renewed by petitioner's execution of a note in the principal amount of $ 47,600, dated May 3, 1966; the second loan, by a note in the principal amount of $ 49,518, dated September 27, 1966.  The unpaid balances in 1966 were *65 $ 42,500 for the May 1962 note, and $ 42,500 for the December 1962 note, plus interest on the latter in the amount of $ 1,712.50, which had accrued on installments not timely paid.On March 7, 1967, Joseph Marcello purchased the renewal notes from Wainer; on the same date petitioner gave Joseph Marcello a new note in the principal amount of $ 93,972.61, in exchange for these renewal notes.Respondent determined that petitioner was a personal holding company in the years 1959, 1960, 1961, 1963, and 1964.  He disallowed the interest deductions claimed in 1962, 1963, and 1964, but now concedes that petitioner is entitled under section 163 to deductions in the amounts of $ 670.26, $ 2,298.03, and $ 2,298.03 for 1962, 1963, and 1964, respectively.There was a bona fide arm's-length agreement between Wainer and petitioner that the payments on the loans should first be applied to interest.  Accordingly, the total amounts of the repayments made in 1962, 1963, and 1964 ($ 2,712.50, $ 9,300, and $ 9,300, respectively) are allocable to interest.  Such interest payments, however, were not ordinary and necessary expenses incurred by petitioner in carrying on its trade or business.The following table *66 shows petitioner's gross income, deductions allowable under section 162, and the ratio of these deductions to gross income for each of the years 1959, 1960, 1961, and 1963:19591960Gross income$ 10,260.00$ 9,576.00Sec. 162 deductions:Taxes&nbsp;&nbsp;&nbsp;&nbsp;98.52167.86Legal and auditing&nbsp;&nbsp;&nbsp;&nbsp;1,031.95Insurance&nbsp;&nbsp;&nbsp;&nbsp;Accounting&nbsp;&nbsp;&nbsp;&nbsp;Other&nbsp;&nbsp;&nbsp;&nbsp;Professional&nbsp;&nbsp;&nbsp;&nbsp;40.00Total deductions&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;138.521,199.81Ratio of sec. 162 deductions to gross income (percent)1.3512.519611963Gross income$ 6,995.00$ 17,862.50Sec. 162 deductions:Taxes&nbsp;&nbsp;&nbsp;&nbsp;187.37374.22Legal and auditing&nbsp;&nbsp;&nbsp;&nbsp;650.00Insurance&nbsp;&nbsp;&nbsp;&nbsp;347.77Accounting&nbsp;&nbsp;&nbsp;&nbsp;150.00Other&nbsp;&nbsp;&nbsp;&nbsp;131.25Professional&nbsp;&nbsp;&nbsp;&nbsp;Total deductions&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;1,316.39524.22Ratio of sec. 162 deductions to gross income (percent)18.82.9*977  OPINIONA. Personal holding company issues.  -- The years here in controversy, 1959 through 1964, span significant changes in the personal holding company tax provisions.  Amendments, enacted by the Revenue Act of 1964, Pub. L. 88-272, 78 Stat. 19, apply to taxable years beginning after December 31, 1963.  The issue is whether, under the applicable statute, petitioner is subject to the personal holding company tax for each of the years before the Court.1. Pre-1964 years.  -- Petitioner's *67 income for 1959 through 1963 consisted only of (1) bonuses received on the execution of oil and gas leases 4*68  and (2) amounts corresponding to sums previously deducted as percentage depletion (sometimes referred to hereinafter as previously deducted depletion), which were returned as income in the current years under section 1.612-3(a)(2), Income Tax Regs., 5 as follows:PreviouslydeductedYearBonusdepletion1959$ 10,260.0019609,576.00$ 2,821.5019616,995.002,633.501 1962 2,600.001,923.63196317,862.50715.00Pre-1964 section 542(a)(1)6 defined "personal holding company" to mean any corporation (with exceptions not relevant here) if at least 80 percent of its gross income for the taxable year was personal holding company income.  Pertinent to the present controversy, pre-1964 *978 section 543(a)(8) defined "personal holding company income" to include --(8) * * * Mineral, *69 oil, or gas royalties, unless -- (A) such royalties constitute 50 percent or more of the gross income, and(B) the deductions allowable under section 162 (relating to trade or business expenses) other than compensation for personal services rendered by the shareholders, constitute 15 percent or more of the gross income.Thus, petitioner's status under the personal holding company provisions for the years prior to 1964 initially depends on whether the bonuses or the previously deducted depletion, or both, constitute "mineral, oil, or gas royalties." If so, the prescribed mathematical computations must be made.Relying on Porter Property Trustees, Ltd., 42 B.T.A. 681"&gt;42 B.T.A. 681 (1940), petitioner contends that the term "royalties" as used in pre-1964 section 543(a)(8) implies a division between the lessor and lessee of the *70 mineral products or the proceeds realized therefrom, and that bonuses, therefore, do not constitute royalties if, as here, there is no actual production under the leases.Respondent argues to the contrary, relying on Commissioner v. Clarion Oil Co., 148 F. 2d 671 (C.A. D.C. 1945), reversing 1 T.C. 751"&gt;1 T.C. 751 (1943), certiorari denied 325 U.S. 881"&gt;325 U.S. 881 (1945). In that case the Court of Appeals held that a cash bonus received on the execution of an oil and gas lease was personal holding company income even though no production ensued.  Upon careful reflection we have decided to follow the holding of the Court of Appeals in the Clarion case, and we will no longer follow our holding therein on this issue.  7 The original version of the personal holding company tax, enacted by the Revenue Act of 1934, 48 Stat. 680, contained no special provision relating to mineral royalties, but section 351(b)(1) thereof defined the *71 term "personal holding company" to mean any corporation (with specified exceptions) if, inter alia, at least 80 percent of its gross income for the taxable year was derived from "royalties" or other designated types of income.  Section 353(h) of the Revenue Act of 1937, 50 Stat. 813, rearranged the definition of personal holding company income, separating mineral, oil, and gas royalties from other types of royalties, and adopted language substantially similar to pre-1964 section 543(a)(8), quoted above.Prior to the adoption of the Revenue Act of 1934, a series of court decisions had defined the income tax character of a bonus received on the execution of an oil and gas lease. These decisions had established *979  that both the bonus and royalties are consideration for the lease, taxable as ordinary income rather than capital gain, even where, under applicable State law, the lease effects a conveyance of title to the mineral in place.  The "payment of an initial bonus alters the character of the transaction no more than an unusually large rental for the first year alters the character of any other lease * * *." Burnet v. Harmel, 237 U.S. 103"&gt;237 U.S. 103, 106 (1932). It was reasoned that mineral in the *72 ground is a "reservoir of capital investment of the several parties" entitled to share in production; that payment of a bonus reduces the lessor's, and thus increases the lessee's, capital investment to the extent of the depletion allowable thereon; 8 and that since the lessor receives a bonus, he will receive a correspondingly reduced royalty share in future production.  Palmer v. Bender, 287 U.S. 551"&gt;287 U.S. 551, 558 (1933); Murphy Oil Co. v. Burnet, 299"&gt;287 U.S. 299 (1932). Consequently, if the lessor retains the right to share in the oil or gas when produced, the bonus is in every real sense "payment in advance for oil and gas to be extracted" even though no production is obtained in the year in which the bonus is paid, Herring v. Commissioner, 293 U.S. 322"&gt;293 U.S. 322, 324 (1934).A review of these principles led the Court of Appeals in Clarion Oil Co., supra, to declare:The inevitable *73 result of this is to indicate that the word "bonus", as used in oil leasing parlance, is, in relation to federal taxation, included in the word "royalty;" and this meaning had become fixed and certain before Congress enacted the Revenue Act of 1934 * * *.  [148 F. 2d at 674.]Other court opinions, with equal clarity, also have described bonuses to be advance royalty. See, e.g., Anderson v. Helvering, 310 U.S. 404"&gt;310 U.S. 404, 409 (1940); Bankers Coal Co. v. Burnet, 287 U.S. 308"&gt;287 U.S. 308, 313 (1932); McLean v. Commissioner, 120 F. 2d 942, 945 (C.A. 5, 1941); cf.  Work v. Mosier, 261 U.S. 352"&gt;261 U.S. 352, 357-358 (1923).In Murphy Oil Co. v. Burnet, supra at 306, the Supreme Court explained that allowance of the depletion deduction on the basis of anticipated production was required, among other reasons, to avoid "the attendant inconvenience of indefinite postponement of the allocation of the bonus to income and return of capital." Also see Sneed v. Commissioner, 119 F. 2d 767, 770 (C.A. 5, 1941), affirming 40 B.T.A. 1136"&gt;40 B.T.A. 1136 (1939), rehearing denied 121 F. 2d 725 (C.A. 5, 1941), certiorari denied sub nom.  Thompson v. Helvering, 314 U.S. 686 (1941). The same practical administrative considerations require classifying bonus *74 income for personal holding company tax purposes in the year of receipt even though no actual production has been obtained; otherwise, *980  the status of the recipient corporation could remain in limbo indefinitely.Accordingly, we hold that the term "royalties" as used in pre-1964 section 543(a)(8) includes cash bonuses received on the execution of oil and gas leases.We now direct our attention to petitioner's other income item -- the amounts equivalent to prior depletion deductions reported as income pursuant to section 1.612-3(a)(2), Income Tax Regs. Respondent contends that these amounts represent portions of the earlier oil and gas lease bonuses deferred from taxation through the device of the depletion deduction,  and that, when reported as income, they regain their original character as royalties. We disagree.  Since the full amount of the bonus, without any diminution for depletion, is treated as royalty income in the year of its receipt, no purpose of the personal holding company provisions would be served by also treating the previously deducted depletion as royalty income in the year of restoration.  Moreover, in Douglas v. Commissioner, 322 U.S. 275"&gt;322 U.S. 275 (1944), involving minimum *75 royalties, the Supreme Court sustained the validity of the predecessor of regulations section 1.612-3(a)(2), not on the theory that the restored sums constitute royalties, but on the following grounds:[The depletion] deductions were not finally charged to basis but were tentatively so charged subject to the contingency that there should occur under the lease an actual extraction of mineral units which would be allocable to the deduction.  * * * [There] was the further requirement that if the contingency failed, the suspended sums should fall into income in the year that the failure was manifested by the termination of the lease. * * ** * * On the termination of the lease, the lessee surrendered the right to extract without royalty the ore for which royalty had been prepaid.  This surrender returned to the taxpayer in 1937 a legal right.  Thereupon the taxpayer was in position to again sell the right to extract the ore or to mine that selfsame ore itself.  The record does not show any valuation of this right which the lessee surrendered.  The lessee paid for the right the amount attributed to the petitioner's income.  Irrespective of the actual value of the right in 1937, it does not *76 seem unfair for a general regulation to put this value on the right restored to the taxpayer in the year of its restoration.  * * * [322 U.S. at 285-286.]See also Louisiana Delata Hardwood Lumber Co., 12 T.C. 576"&gt;12 T.C. 576 (1949), affirmed per curiam 183 F. 2d 189 (C.A. 5, 1950).  Thus, the previously deducted depletion is not royalty or any other form of personal holding company income within the meaning of pre-1964 section 543.Nor is the previously deducted depletion part of petitioner's "gross income" for the purposes of applying pre-1964 sections 542(a)(1) and 543(a)(8)(B).  This Court and others have held that "gross income" as used in the personal holding company tax provisions must be determined in the light of the objectives of those provisions.  See, e.g., Woodside *981 v. Commissioner, 134 F. 2d 793 (C.A. 2, 1943), affirming 46 B.T.A. 1124"&gt;46 B.T.A. 1124 (1942); Garrett Holding Corporation, 9 T.C. 1029"&gt;9 T.C. 1029 (1947). The stated objective of the percentage requirements of pre-1964 sections 542(a)(1) and 543(a)(8)(B) was to "furnish a satisfactory separation between companies which may be classified as operating companies and the pure holding company type." S. Rept. No. 1242, 75th Cong., 1st Sess. 1 (1937), *77 1939-1 (Part 2) C.B. 703.  Sums previously deducted as depletion when "returned as income" constitute income from neither business operations nor investments.  Indeed, they are not income at all in the traditional sense of "gain derived from capital, from labor, or from both combined." Eisner v. Macomber, 252 U.S. 189"&gt;252 U.S. 189, 207 (1920). While the occasion for the tax is the return of property to the taxpayer in respect of which a deduction has been previously taken, cf.  Alice Phelan Sullivan Corp. v. United States, 381 F. 2d 399, 401 (Ct. Cl. 1967), inclusion of the "suspended sums" in income for income tax purposes is essentially an accounting adjustment to prevent final allowance of a depletion deduction "apart from actual or prospective extraction" and to avoid the deflection of "income into the capital account without any corresponding capital loss." Douglas v. Commissioner, supra at 284; cf.  Sneed v. Commissioner, supra.Therefore, "gross income" for purposes of pre-1964 sections 542(a)(1) and 543(a)(8)(B) does not include the sums returned as income under section 1.612-3(a)(2) of the regulations, but includes only the amount of the bonuses received by petitioner in each of the tax *78 years without any adjustment for depletion. 9 Applying these principles, more than 80 percent of petitioner's gross income for each of the years 1959, 1960, 1961, and 1963 is personal holding company income, unless petitioner satisfies the 15-percent requirement of pre-1964 section 543(a)(8)(B).The parties disagree as to whether deductions under section 162 are allowable for (1) directors' fees disbursed in 1959, 1960, and 1961; (2) depletion claimed in 1960, 1961, and 1963; (3) taxes paid in these 3 years; (4) interest paid in 1963; and (5) a net operating loss deduction in 1959.  Respondent concedes that *79 expenditures for legal and auditing services, insurance, accounting services, and professional and other services, described in our findings, are section 162 deductions.Section 162 allows as a deduction "all the ordinary and necessary expenses paid or incurred during the taxable year in carrying on any *982  trade or business," including, among other enumerated expenses, "a reasonable allowance for salaries or other compensation for personal services actually rendered." Quite clearly this provision covers petitioner's expenditures for directors' fees.  Waldheim &amp; Co., 25 T.C. 594 (1955). However, pre-1964 section 543(a)(8)(B) refers to section 162 deductions "other than compensation for personal services rendered by the shareholders." Since the burden of proof rested with petitioner, and it offered no proof to show that the directors to whom the fees were paid in 1959, 1960, and 1961 were not also shareholders, these fees may not be included as section 162 deductions in the computations under pre-1964 section 543(a)(8)(B).For income tax purposes petitioner claimed, and was allowed, depletion deductions in each of the years in controversy except 1964.  In making the computations under pre-1964 *80 section 543(a)(8)(B), petitioner does not, in express terms, treat the depletion deductions as section 162 deductions.  However, the method used by petitioner reaches the same result in a roundabout fashion.  Thus, for each year, petitioner subtracts the depletion deduction from the bonus upon which it was claimed, and treats the remainder as gross income for the purposes of pre-1964 section 543(a)(8)(B), while at the same time excluding from gross income the amount deducted as depletion in the previous year and currently reported as income.  Petitioner's computations are erroneous. There is no statutory basis for treating the net figure -- the bonus income minus the depletion deduction -- as gross income for pre-1964 section 543(a)(8)(B) purposes.  Cf.  sec. 1.61-3(a), Income Tax Regs. Nor is the depletion allowance a section 162 deduction; it is not an expense "paid or incurred during the taxable year." The theory of the depletion deduction allowed by sections 611 and 613 is that the extraction of minerals gradually exhausts the capital investment in the mineral deposit, Commissioner v. Southwest Expl. Co., 350 U.S. 308"&gt;350 U.S. 308, 312 (1956); its purpose is "to permit the owner of a capital *81 interest in mineral in place to make a tax-free recovery of that depleting capital asset." Parsons v. Smith, 359 U.S. 215"&gt;359 U.S. 215, 220 (1959).Concerning the real estate and franchise taxes paid by petitioner, respondent argues that they are not section 162 deductions because they are specifically allowable under section 164.  10 We rejected an analogous argument with respect to an interest deduction in McNutt-Boyce Co., 38 T.C. 462 (1962), affirmed per curiam 324 F. 2d 957 (C.A. 5, 1963), acq.  2 C.B. 6"&gt;1966-2 C.B. 6. We must also reject respondent's argument here.*983  In McNutt-Boyce we pointed out that section 162 allows the deduction of all the ordinary and necessary expenses of carrying on any trade or business.  The section specifies the conditions for the allowance of certain expenses as deductions, but says nothing specifically about taxes.  Yet taxes are ordinary and necessary expenses of any business.  See Elmer Reise, 35 T.C. 571"&gt;35 T.C. 571, 580 (1961), affd.  299 F. 2d 380 (C.A. 7, 1962).  For taxable years beginning before January 1, 1964, *82 section 164 provides a deduction for taxes regardless of whether they meet the ordinary and necessary business expense test.  To the extent that taxes paid on petitioner's income-producing property also meet the test of a business expense, the two sections (162 and 164) may be said to "overlap," and such taxes could be deducted under either of the two sections.  See 4A Mertens, Law of Federal Income Taxation, sec. 25.05, p. 25.  That the deduction for taxes was authorized by another specific section does not prevent its allowance under the general provision.  Cf.  McNutt-Boyce Co., supra at 469. We hold that petitioner's tax payments must be taken into account as section 162 deductions in computing the 15-percent limitation under section 543(a)(8)(B).Respondent concedes that interest expense may qualify as a section 162 deduction, see McNutt-Boyce Co., supra, but contends that petitioner's interest payments to Wainer do not so qualify.  The issue is primarily factual.As detailed in our findings, petitioner borrowed $ 42,500 on May 24, 1962, and $ 42,500 on December 4, 1962, from Wainer, and promptly distributed all except $ 7,500 of these amounts, purportedly as loans, to Carlos Marcello, *83 J. Folse Roy, and Joseph Marcello, evidenced in part by notes to petitioner.Petitioner here maintains that payments made on the loans from Wainer in 1962, 1963, and 1964 constituted section 162 interest deductions.  To support its contention, petitioner offered testimony that it borrowed the money to finance the purchase of tracts adjacent to its property, for access to its land, and that when the contemplated purchases fell through it loaned the idle cash to solvent individuals, at interest rates higher than it could have obtained elsewhere, to minimize its interest expense.We are not convinced that these funds were borrowed for petitioner's benefit.  While petitioner was engaged in land purchase negotiations when it arranged the Wainer loans, all these negotiations had failed before the loan proceeds were actually received.  No effort was made to postpone receipt of the loan proceeds until a land purchase was imminent.  Indeed, the inference is clear, we believe, that the real reason for the consummation of the loans when no land purchases were in *984  prospect was to permit petitioner to disburse funds to the individuals who ultimately received them.  As detailed in our findings, the *84 individuals gave notes to petitioner for sums less than the total amounts they received.  Only minimal payments have been made to petitioner on the purported "loans" and no interest income was reported by petitioner, at least through 1964.  Finally, when the loans payable to Wainer became due, petitioner did not pay them off but extended them -- action wholly inconsistent with its alleged desire to minimize interest expense.  We conclude that petitioner's interest payments to Wainer were not ordinary and necessary expenses paid or incurred in carrying on petitioner's business and, consequently, are not deductible under section 162.Quite clearly, the net operating loss deduction claimed and allowed in 1959 was not an expense paid or incurred in that year within the meaning of section 162.  It was a loss incurred in a prior year, allowed as a deduction under a statute designed "to ameliorate the unduly drastic consequences of taxing income strictly on an annual basis." Libson Shops, Inc. v. Koehler, 353 U.S. 382"&gt;353 U.S. 382, 386 (1957). Accordingly, the loss may not be taken into account in applying the 15-percent limitation prescribed by pre-1964 section 543(a)(8)(B).Applying these conclusions *85 as to the character of petitioner's deductions, we have set forth in our findings the ratio of petitioner's section 162 deductions to its gross income for the years in issue.  Only in 1961 did such deductions constitute 15 percent or more of petitioner's gross income. Petitioner is, therefore, liable for the personal holding company tax for 1959, 1960, and 1963.2. The year 1964.  -- Under the personal holding company provisions in effect for taxable years beginning after December 31, 1963, any corporation, with specified exceptions not applicable here, is subject to the tax if, among other requirements, at least 60 percent of its adjusted ordinary gross income is personal holding company income.  Sec. 542(a)(1).  "Mineral, oil and gas royalties," adjusted, pursuant to section 543(b)(2)(B), for property and severance taxes, depreciation, depletion, interest, and rent paid, are personal holding company income unless each of the following tests, prescribed by section 543(a)(3), is met: (1) The adjusted royalty is at least 50 percent of the adjusted ordinary gross income; (2) other personal holding company income is not more than 10 percent of the ordinary gross income; and (3) section 162*86 business deductions are at least 15 percent of adjusted ordinary gross income.Petitioner had no income in 1964 except $ 4,912.19, previously deducted as percentage depletion and returned as income in that year under section 1.612-3(a)(2), Income Tax Regs. Thus, again, the issue *985  is whether such sums constitute royalties. 11 For the reasons stated above, we hold they do not, and since these sums are not described in any other paragraph of section 543(a), we conclude that petitioner had no personal holding company income in 1964.  12*87 B. Income tax issue.  -- The only income tax issue concerns the amount petitioner may deduct in 1962, 1963, and 1964 for interest paid on the Wainer notes.  Respondent has conceded that any interest actually paid is deductible under section 163; 13 the dispute concerns the amount of the payments subject to treatment as interest. The two notes executed by petitioner were each in the face amount of $ 56,450, but petitioner received only *88 $ 42,500 from each loan.  To repay each loan, petitioner was to make 35 equal consecutive monthly payments of $ 387.50 plus a final payment of $ 42,887.50 (equal to the principal advanced by Wainer plus $ 387.50).  Respondent contends that the payments made during the years in issue should be allocated to interest and principal in the ratio of the total discount on each loan to its total face amount.  In claiming the interest deductions in its returns, petitioner did allocate each year's payments in such a manner, but now maintains that it and Wainer had agreed that each of the 35 installment payments and $ 387.50 of the final "balloon" payment were to be applied to interest, and that the final payment less $ 387.50, i.e., $ 42,500, was all to be applied to the principal.The general rule is that where the parties to an installment loan make no agreement as to allocation of payments to interest and principal, the amount of interest or discount is prorated over the term the payments are to be made, see John Randolph Hopkins, 15 T.C. 160"&gt;15 T.C. 160, 181 (1950), accord, Phillips v. Frank, 185 F. Supp. 349"&gt;185 F. Supp. 349 (W.D. Wash. 1960), and each payment is credited first to interest up to the maximum amount of *89 accrued prorated interest and then to principal.  See Theodore R. Plunkett, 41 B.T.A. 700"&gt;41 B.T.A. 700, 705, 709 (1940), affd.  118 F. 2d 644 (C.A. 1, 1941) (applying local law); cf.  Irving v. E. Sondheimer Co., 126 So. 2d 401"&gt;126 So. 2d 401, 408 (La. App. 1960). However, where the parties agree *986  as to the allocation of a payment between principal and interest, such agreement will be given effect. Huntington-Redondo Co., 36 B.T.A. 116"&gt;36 B.T.A.  116 (1937); accord, Estate of Hamilton C. Rickaby, 27 T.C. 886"&gt;27 T.C. 886, 891 (1957). Thus, where a borrower and a lender, in a bona fide arm's-length transaction, agree that installment payments on a discounted note are to be applied first to interest, the total amount of such payments may be deducted as interest.The resolution of this issue turns then on a purely factual question as to whether petitioner and Wainer entered into such an agreement.  We are convinced that they did.George Wainer testified to the effect that the 36 payments were intended to be interest payments, i.e., in their full amount for the first 35 and to the extent of $ 387.50 in the final payment.  Thus, on completion of 36 monthly payments of $ 387.50, petitioner would owe $ 42,500, the precise amount advanced by Wainer. *90  Furthermore, a letter written on the day following the first loan, by petitioner's vice president (who had negotiated the loan) to its accountant, directing the latter to make several payments to Wainer, contained the following: "I am enclosing herewith copy of a note which must be paid monthly, these payments covering interest.  Please set this up and see that these interest payments are paid when due." In the light of this evidence, we have found as a fact that such monthly payments were intended to be, and were, interest.  As such they are deductible under section 163.  We think the evidence supporting this conclusion outweighs whatever probative effect may be given to the bookkeeping entries which were not made in accordance with the written instructions issued to the accountant.Decision will be entered under Rule 50.  Footnotes1. This case was tried in consolidation with Carlos Marcello, docket No. 3532-64; Anthony and Jeannine Marcello, docket No. 3533-64; Jacqueline Marcello, docket No. 3534-64; Carlos and Jacqueline Marcello, docket Nos. 3744-65 and 2908-66; Salvador J. and Florence Marcello, docket Nos. 3535-64 and 3981-65; Joseph C. and Barbara Marcello, docket Nos. 3743-65 and 2907-66; Frank and Lady Patricia Occhipinti, docket No. 5691-65; Rosario and Julia Occhipinti, docket No. 5760-65; and Churchill Farms, Inc., docket No. 6307-66.  The present case is severed for a separate opinion.↩2. I.R.C. 1954, prior to amendment by sec. 225(d) of the Revenue Act of 1964, 78 Stat. 19, effective for taxable years beginning after Dec. 31, 1963.  For convenience, references to the 1954 Code sections in effect only for taxable years beginning prior to Jan. 1, 1964, will be preceded by the term "pre- 1964." All other section references, unless otherwise noted.  are to the Internal Revenue Code of 1954, as amended.3. On Dec. 12, 1961, petitioner's board of directors had authorized the individual directors to borrow from petitioner any money obtained by it on the collateral mortgage.4. Petitioner argues that the payments in issue were rental income from a "shooting option" and lease, and that its personal holding company status must be measured by pre-1964 sec. 543(a)(7), relating to rents.  But petitioner failed to introduce evidence as to the contents of all its leases or otherwise to show that the lease payments were not cash bonuses. They were so reported in petitioner's income tax returns (for all years except 1959, when the payment was shown as an amount received for a "shooting-and-selection" lease).  Moreover, as indicated in our findings, the only lease introduced in evidence calls for an initial cash bonus payment.  Cf.  Bennett v. Scofield, 170 F. 2d 887 (C.A. 5, 1948); Houston Farms Development Co. v. United States, 131 F. 2d 577, 579 (C.A. 5, 1942); Judge, "Tax Considerations of the Oil and Gas Royalty Owner," 31 Taxes 828"&gt;31 Taxes 828↩, 830 (1953).5. Sec. 1.612-3Depletion; treatment of bonus and advanced royalty.(a) Bonus.  * * *(2) If the grant of an economic interest in a mineral deposit or standing timber with respect to which a bonus was received expires, terminates, or is abandoned before there has been any income derived from the extraction of mineral or cutting of timber, the payee shall adjust his capital account by restoring thereto the depletion deduction taken on the bonus and a corresponding amount must be returned as income in the year of such expiration, termination, or abandonment.↩1. Respondent did not determine that petitioner was subject to the personal holding company tax for 1962.↩6. SEC. 542. DEFINITION OF PERSONAL HOLDING COMPANY.(a) General Rule. -- For purposes of this subtitle, the term "personal holding company" means any corporation (other than a corporation described in subsection (c)) if -- (1) Gross income requirement.  -- At least 80 percent of its gross income for the taxable year is personal holding company income as defined in section 543↩, and7. Our decision in Seth Campbell, 41 T.C. 91"&gt;41 T.C. 91, 94↩ (1963), where we held that no deduction for depletion was allowable on a bonus when events occurring in the same year in which the bonus was received assured that there would be no production, actual or anticipated, is clearly distinguishable.8. As to the bonus, the Court in Palmer v. Bender, 287 U.S. 551"&gt;287 U.S. 551, 559 (1933), explained:"The bonus received * * * was a return pro tanto↩ of the petitioner's capital investment in the oil, in anticipation of its extraction, resulting in a corresponding diminution in the unit depletion allowance upon the royalty oil as produced.  * * *"9. The correctness of these conclusions is confirmed by the fact that an opposite holding would require a taxpayer who had claimed percentage depletion to treat each $ 1 of bonus income as $ 1.275 of personal holding company income if the oil and gas lease is canceled without production -- $ 1 in the year of the receipt of the bonus, and $ 0.275 in the year of cancellation; would dilute the 80-percent requirement of pre-1964 sec. 542(a)(1); and would make the 15-percent requirement of pre-1964 sec. 543(a)(8)(B) more onerous.  Cf.  United States v. Skelly Oil Co., 394 U.S. 678"&gt;394 U.S. 678↩ (1969).10. SEC. 164. TAXES.(a) General Rule. -- Except as otherwise provided in this section, there shall be allowed as a deduction taxes paid or accrued within the taxable year.↩11. If the disputed amounts were royalty income, the first two tests of sec. 543(a)(3), enumerated in the immediately preceding paragraph, would be met.  However, petitioner's only deductions in 1964, other than an interest deduction, amounted to $ 430.51.  But since sec. 543(a)(3)(C) provides that "deductions which are specifically allowable under sections other than section 162" may not be taken into account in computing the sum of the deductions allowable under sec. 162, and interest is allowable under sec. 163↩, it may not be taken into account in making the 15-percent adjusted ordinary gross income computation. Therefore, the third test would not be met.12. The item here in dispute is a sum equal to the depletion deduction allowed for 1963, prior to the amendments made by sec. 225(d), Revenue Act of 1964, 78 Stat. 19.  In view of the changes in the personal holding company tax provisions, particularly the adjustments to mineral, oil, and gas royalty income prescribed by sec. 543(b)(2)(B), we do not here decide whether sums equal to depletion deducted in 1964 or later years and subsequently returned as income under sec. 1.612-3(a)(2) of the regulations may be subject to treatment as royalty income in computing "adjusted ordinary gross income" under sec. 543(a)(3)(B)↩.13. SEC. 163. INTEREST.(a) General Rule. -- There shall be allowed as a deduction all interest paid or accrued within the taxable year on indebtedness.↩